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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF GEORGIA
                                 ALBANY DIVISION

   IN RE:                                      §      CASE NO. 16-11141AEC
                                               §
   MIRIAM HITTNER TONDERA                      §
                                               §
            DEBTOR                             §      CHAPTER 13

      NOTICE OF HEARING ON MOTION FOR RELIEF FROM AUTOMATIC
        STAY AND WAIVER OF THIRTY DAY HEARING REQUIREMENT

   GEORGE HITTNER FILED DOCUMENTS WITH THE COURT TO MODIFY THE
   AUTOMATIC STAY TO ALLOW HIM TO SEEK EQUITABLE RELIEF IN A
   TEXAS STATE COURT.

   YOUR RIGHTS MAY BE AFFECTED. You should read these documents
   carefully and discuss them with your attorney, if you have one in this bankruptcy
   case. If you do not have an attorney, you may wish to consult one. If not served
   with this notice in accordance with the Bankruptcy Code or the Federal Rules of
   Bankruptcy Procedure, a copy of the motion may be obtained upon written request
   to counsel for the Movant or at the Clerk’s office.

   If you do not want the Court to grant the motion for relief, or if you want the court to
   consider your views on the motion for contempt, then you or your attorney shall attend
   the hearing scheduled to be held on

   January 6, 2021 at 10:00 a.m. at CB King U.S. Courthouse, Second Floor, 201 West
   Broad Avenue, Albany, GA 31701.

   If you or your attorney do not take these steps, the court may decide that you do not
   oppose the relief sought in the motion and may enter an order granting relief.

   This notice is sent by the undersigned pursuant to M.D.Ga. LBR 4001-1.

            This 17th day of November, 2020.
                                               /S/ Robert M. Matson
                                               _________________________________
   Akin, Webster & Matson, P.C.                Robert M. Matson
   P.O. Box 1773                               Attorney for Movant
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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF GEORGIA
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   IN RE:                                        §      CASE NO. 16-11141 AEC
                                                 §
   MIRIAM HITTNER TONDERA                        §
                                                 §
            DEBTOR                               §      CHAPTER 13
                                                 §

        MOTION FOR RELIEF FROM AUTOMATIC STAY AND WAIVER OF
                  THIRTY DAY HEARING REQUIREMENT

            George Hittner (“Movant”) in the above referenced case, files his Motion for

   Relief from Automatic Stay and Waiver of Thirty Day Hearing Requirement (the

   “Motion”) pursuant to 11 U.S.C. § 362(d)(1) and shows the Court the following:

                        SUMMARY OF FACTS AND RELIEF REQUESTED

      Miriam Hittner Tondera (“Debtor”) is in the fourth year of a confirmed Chapter 13

   plan that provides no distribution to her unsecured creditors.

      Debtor has been involved in years of litigation in Texas state courts because she

   refuses to stop threatening and harassing her brother, George Hittner (“Movant” or

   “Hittner”) and other members of her family. Debtor has threatened and harassed her

   father, a United States District Judge.      Debtor has been reported to Texas Adult

   Protective Services (by Movant and four other individuals) for financial and emotional

   abuse of her mother, a world-renowned pediatric ophthalmologist. This unfortunate

   family rift was set in motion in 2013 when the Debtor used trust funds (set aside for her

   children’s education) for her own personal expenses. The Debtor and members of her

   family attempted to resolve their differences in 2016 when they entered into a settlement
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   agreement which specifically prohibited the Debtor from harassing and disparaging

   Movant.

        Unfortunately, the harassment by the Debtor never fully subsided, and escalated to a

   point in 2020 that Movant was left with no option but to seek injunctive relief in a Texas

   State Court. The Texas State Court has already granted a Temporary Restraining Order

   and an Agreed Temporary Injunction against the Debtor. In response to the litigation, the

   Debtor has not only filed counterclaims against Movant, but has also amended her

   bankruptcy schedules and added Movant as an unsecured creditor. These actions by

   Debtor are obvious attempts to use the automatic stay as a both a sword and a shield.

        Movant and his family simply want to be left alone, and therefore seek an order from

   this Court modifying the Automatic Stay to allow the Texas litigation to resume so they

   may be able to pursue a Permanent Injunction and other relief as may be appropriate.

                                  JURISDICTION AND VENUE

   1.      The Court has personal jurisdiction over the Debtor.

   2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

   3.      The Movant waives any thirty-day requirement for a hearing as set forth in 11

   U.S.C. § 362(e).

   4.      This contested matter arises out of and relates to the Debtor’s chapter 13 case

   filed in the United States Bankruptcy Court for the Middle District of Georgia, Macon

   Division.

   5.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(G).
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                               RELEVANT BACKGROUND FACTS

   6.     Members of the Hittner family have been harassed and tormented by Debtor for

   the better part of the last seven (7) years. This is the latest unfortunate turn of a family

   rift that was set into motion in 2013 when Debtor converted funds that had been placed in

   her care for her son’s education to her own personal use. Debtor has been unpersuaded to

   amend her behavior despite a temporary restraining order being signed against her, and

   has also failed to abide by two prior settlement/mediation agreements.           Debtor has

   harassed (or threatened to harass) not only members of the Hittner family, but also their

   representatives, friends, colleagues (and the like), both directly, to others, via electronic

   mail, and on social media on a regular and consistent basis.

   7.     Movant served as Trustee for two trusts that had been established for Debtor’s

   children, in which capacity Movant had served voluntarily and without remuneration

   from November 6, 2002 through June 7, 2016, when he resigned as Trustee.

   8.     In September 2013, Movant was informed by Debtor’s ex-husband that Debtor

   had represented to him that the trusts for his children were depleted, and that he needed to

   pay “his portion” of school tuition for their son’s private education. Upon Debtor’s ex-

   husband’s inquiry to Movant (then serving as Trustee), Debtor’s ex-husband was

   informed that the trusts were, in fact, not depleted, and that Movant had already remitted

   a tuition payment to Debtor for their son’s tuition. Upon further investigation, it was

   determined that Debtor had received the annual tuition check from Movant, paid half of

   her son’s tuition from those funds, and converted the other half of the funds remitted to

   her to herself. Upon learning of these circumstances, Movant changed the policy of fund

   disbursements from the trusts such that payments would no longer flow through either
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   Debtor or her ex-husband, but rather, would be issued directly to the ultimate payee (i.e.,

   school, camp, etc.). From the moment this policy change was made by Movant, Debtor

   has responded by relentlessly harassing, threatening, litigating, libeling and defaming

   Movant and members of his family.

   9.     In 2014, after nearly a year of relentless harassment and threats, Movant gave

   Debtor notice: if her behavior against him and his family did not cease, he would seek a

   restraining order against her. Debtor refused to cease her behavior, and on August 13,

   2014 the 127th District Court of Harris County signed a Temporary Restraining Order

   against Debtor. See attached Exhibit 1 – 2014 Temporary Restraining Order.

   10.    Following assurances from Debtor that her harassment would stop, Movant

   nonsuited the 2014 proceedings. However, Debtor’s behavior did not cease, and for the

   next two years, Movant continued to endure Debtor’s harassing, threatening, libeling and

   defamatory behavior.

   11.    In January 2016, Debtor began requesting trust funds from Movant for the

   purchase of an automobile for her daughter. Movant informed Debtor that her daughter’s

   Trust was being administered primarily for educational expenses, but that the trust would

   pay up to $9,000 towards the purchase of an automobile. There was another option of full

   payment, to be paid in $250 monthly installments which Debtor rejected. At every turn,

   Debtor threatened legal proceedings against Movant; and between January and June

   2016, Debtor applied pressure for Movant to resign as Trustee. Movant finally agreed to

   resign as trustee, in exchange for a full release and post-resignation protections. On June

   7, 2016, Movant, Debtor, the Grantor of the Trust, all alternate Trustees, and the

   subsequent acting-Trustee, all executed the Agreement. The 2016 Resignation
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   Agreements contained (amongst other provisions) a permanent renouncement of Debtor’s

   right to serve as trustee.

   12.     The 2016 Resignation Agreements sought to end the harassing course of conduct

   on the part of Debtor through contractual agreements and to immediately and forever

   cease “derogatory or disparaging statements” or “unwanted, harassing, and/or threatening

   contact” towards Movant and other released parties under the Agreements. Despite this,

   Debtor has ignored the 2016 Resignation Agreements and continued her campaigns

   against Debtor and members of his family.

   13.     The 2016 Resignation Agreements contained a protection clause for Movant

   whereby Movant could request funds from the Trust(s) to cover his legal expenses if he

   were ever involuntarily drawn into a legal proceeding by Debtor related to Movant’s time

   as Trustee. In September 2017, Movant received an inquiry from Debtor’s ex-husband

   inquiring as to the contact information for the acting-Trustee. It was upon this inquiry

   that Movant learned that Debtor’s ex-husband was being taken back to court by Debtor

   because her ex-husband adjusted child support payments when their oldest child left for

   college.

   14.     Upon learning that Movant had provided the contact information of the acting-

   Trustee to Debtor’s ex-husband, Debtor, acting in a Pro Se capacity, issued a third-party

   subpoena/Request for Production of Documents pursuant to Official Code of Georgia

   Annotated (“OGCA”) §9-11-34(c) in the Superior Court of Dougherty County, Georgia,

   to Movant, seeking documents related to Movant’s nearly fourteen-year term as Trustee

   of the aforementioned Trusts. Movant’s resignation as Trustee had been effective for

   more than a year, and he no longer had any interactions or management with the Trusts.
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   Moreover, the new acting-Trustee was in possession, custody or control of all the

   documents and records sought by Debtor. Despite Debtor’s actual knowledge of these

   facts, Debtor issued a subpoena to Movant seeking every single document related to his

   time as Trustee; in addition to correspondence with Debtor’s ex-husband.

   15.    Upon receiving Debtor’s third-party subpoena/Request for Production of

   Documents, Movant responded and stated that all of the documents Debtor requested had

   been handed over to the acting-Trustee and that Debtor should obtain them from her.

   Movant further warned that if Debtor did not withdraw her request that he would be

   forced to request legal funds from the Trust to respond to her request pursuant to the 2016

   Resignation Agreement. Debtor refused to withdraw her request. Specifically, Debtor

   refused to seek the requested materials from the acting-Trustee who had been provided

   all of Movant’s original files during his service as Trustee. Movant forwarded Debtor’s

   rejection to withdraw her request to the acting-Trustee, and requested she disburse

   $10,000.00 to Debtor’s attorney.      The acting-Trustee, acting within her discretion,

   remitted the funds to Movant’s attorney. The funds disbursed by the acting-Trustee were

   exclusively for the expense of responding to Debtor’s actions taken in violation of the

   Resignation Agreement, along with the expense of necessary litigation to enforce the

   provisions of the Resignation Agreement.

   16.    Thereafter, Counsel for Movant, opened a dialogue with Debtor in an effort to

   resolve the dispute in a timely manner and without further depletion of the Trust funds.

   After many exchanges between Movant’s counsel and Debtor, Debtor voluntarily

   dismissed her Georgia action against her ex-husband with prejudice. However, Debtor

   refused to agree to end the harassing conduct and communications against Movant.
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   Debtor continued making threats of litigation against Movant and Movant’s counsel,

   requesting the “full $10,000” be returned to the Trust. When informed that was not

   possible because a portion of those funds had already been used to defend Movant from

   Debtor’s request for production and in preparation for litigation to enforce the 2016

   Resignation Agreement’s terms, the threats from Debtor increased along with the legal

   expenses.

   17.    Notably, despite repeated assurances that $10,000 (if not more) would be made

   available and applied toward Debtor’s daughter’s college tuition by Movant and members

   of his family, Debtor continued. Put simply, neither Movant nor any other member of his

   family were willing to deposit funds into the Trust, especially since Trust funds that had

   been appropriately managed for 14 years had been recklessly depleted in one year; the

   same year that Debtor filed for bankruptcy protection. The fact Debtor had purported to

   have established herself as Trustee, only exacerbated Movant’s inclination against

   depositing funds into the control of someone who has proven to be fiscally irresponsible;

   especially considering Debtor had previously converted trust funds from her son’s trust

   that had been designated for his education to her personal use.

   18.    In the second lawsuit (and counter-lawsuit) between Debtor and Movant, Debtor

   filed an action against Movant in Texas to attempt to recoup the funds that were remitted

   to Movant by the former Trustee of Debtor’s daughter’s trust.          Debtor’s husband

   represented her in this action until he was forced to withdraw by his law firm because

   they had not sanctioned his participation in the lawsuit on behalf of Debtor. The parties

   ultimately mediated and resolved that lawsuit. Although other members of the Hittner
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   family were not signatories of the 2018 Mediation Agreement between Debtor and

   Movant, their father was a third-party beneficiary of that 2018 Mediation Agreement.

   19.    Specifically, Debtor agreed to forebear any communication (other than via the

   mediator who helped resolved the litigation) with her father, David Hittner, for a period

   of two years. The 2018 Mediation Agreement contained a one-year extension “option

   period;” which David Hittner triggered on June 30, 2020.           Debtor has repeatedly

   breached the terms of the 2018 Mediation Agreement as it relates to Movant and his

   father. Indeed, Debtor has systematically failed to abide by any agreement she has

   entered into with Plaintiff.

   20.    In November of 2019, Debtor learned of an Irrevocable Trust (hereinafter,

   “Mintz-Hittner Trust”) that had been established by Helen Mintz-Hittner (mother of

   Debtor and Movant). Movant and his other sister, Susan Hittner, were designated as co-

   Trustees of the Mintz-Hittner Trust. Subsequently, on December 23, 2019, without

   notice to, or permission from Dr. Mintz-Hittner, Debtor’s husband transmitted a letter on

   his employer’s letterhead to the Shenandoah Life Insurance Company. In the letter,

   Debtor’s husband states: “Please be advised that this firm represents the Primary

   Beneficiary Miriam Hittner Minix and Contingent Beneficiary Joe Perkins Tondera in

   connection with the above referenced life insurance policy…” Debtor’s husband’s letter

   triggered internal alerts within the life insurance company, and its representative reached

   out to Dr. Mintz-Hittner (the owner of the policy) and Movant to express concern

   regarding this unusual communication.

   21.    Debtor’s husband utilized law firm letterhead without permission from either his

   law firm or Dr. Mintz-Hittner’s representatives in an attempt to improperly coerce the life
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   insurance company for Debtor. Simultaneously, Debtor and Debtor’s husband’s conduct

   reflects an effort to interfere with Dr. Mintz-Hittner’s estate plan without her consent or

   knowledge.

                                  TEXAS STATE COURT PROCEEDINGS

   22.     On August 14, 2020, as a result of the Debtor’s refusal to stop the harassment,

   Movant was left with no choice but to file a second lawsuit against the Debtor in State

   Court in Houston, Texas (the “Texas Litigation”). 1

   23.     In response to the Texas Lawsuit, the Debtor amended her Schedule F and added

   Hittner as an unsecured creditor, with an unsubstantiated claim in the amount of

   $10,000.00.

                                           BANKRUPTCY FILING

   24.     Although Movant was added to the Debtor’s bankruptcy schedules in November

   2020, the Debtor has been in a pending bankruptcy since September 20, 2016.

   25.     The Debtor’s Chapter 13 Plan was confirmed on January 4, 2017, and the Debtor

   has less than one year to complete her Chapter 13 plan.

   26.     The Debtor’s plan does not provide for a distribution to her unsecured creditors.

                                            RELIEF REQUESTED

   27.     Movant prays for the entry of an order modifying the automatic stay to allow him

   to continue with the Texas Litigation so that they can obtain a permanent injunction

   against the Debtor to finally put an end to the harassment.

   28.     Although Movant does seek reimbursement of attorney’s fees, costs and interest

   in the Texas Litigation, he will contentedly agree to an order that prohibits any collection

   1
    “The Texas Litigation is currently under a temporary seal order. Out of an abundance of caution, the
   majority of supporting documents related to the proceeding have been excluded from this public filing, but
   can be produced to the Court in camera or submitted under seal.”
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   of those fees until after the Debtor’s bankruptcy case is either dismissed or Ms. Tondera

   receives her discharge.

                                       LEGAL STANDARD

   29.    Cause exists to grant the Movant’s motion pursuant to 11 U.S.C. § 362(d)(1).

   30.    Courts look at numerous factors to determine if cause exists to grant a motion for

   stay relief including: 1) prejudice to the bankruptcy estate and the Debtor; 2) the hardship

   on the Movant denying stay relief versus the hardship on the Debtor granting stay relief;

   and 3) the Movant’s probability of success on the merits. In re Coachworks Holdings,

   Inc., 418 B.R. 490, 492 (Bankr. M.D. Ga. 2009).

   31.    First, there is little prejudice to the Debtor or the estate if the stay is modified.

   The Debtor is in her final year of a confirmed Chapter 13 plan that provides no

   distribution to the unsecured creditors. Furthermore, Movant is not seeking turnover of

   any assets, is seeking primarily equitable relief against the Debtor, and the Texas

   Litigation will not interfere with the Debtor’s Chapter 13 plan.

   32.    The second factor also weighs in Movant’s favor as the hardship on him is

   significant if the stay is not modified, as this prevents him from seeking injunctive relief

   from the Texas Court which will result in months of harassment from the Debtor. The

   hardship on the Debtor will be very minimal if the automatic stay is modified as the

   Debtor can make any telephonic appearances in the Texas Litigation.

   33.    The final element requires the Court to determine Movant’s probability of success

   on the merits. The Texas State Court has already granted a Temporary Restraining Order

   and an Agreed Temporary Injunction against the Debtor and it seems probable that a

   permanent injunction will also be granted. Furthermore, as discussed above, the Movant
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   believes that he will also succeed on the merits of the breach of contract claim for the

   Debtor’s blatant violations of the 2016 Resignation Agreement and the 2018 Mediation

   Agreement.

   34.    Finally, the Movant also requests a waiver of the fourteen-day stay set forth in

   Fed.R.Bankr.P. 4001(a)(3).

          This 17th day of November, 2020.

                                              /s/ Robert M. Matson
                                              ____________________________________
   Akin, Webster & Matson, P.C.               Robert M. Matson
   P.O. Box 1773                              Attorney for Movant
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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF GEORGIA
                                 ALBANY DIVISION

   IN RE:                                      §     CASE NO. 16-11141 AEC
                                               §
   MIRIAM HITTNER TONDERA                      §
                                               §
            DEBTOR                             §     CHAPTER 13

                               CERTIFICATE OF SERVICE

          This certifies that I have this day served a copy of the Motion for Relief from
   Automatic Stay and Waiver of Thirty Day Hearing Requirement and Notice of Hearing
   on Motion for Contempt and Notice of Hearing on Motion for Relief from Automatic
   Stay and Waiver of Thirty Day Hearing Requirement on F. Anthony Blakey and
   Jonathan W. DeLoach, Trustee via CM/ECF electronic notice and on Miriam Hittner
   Tondera, 6000 River Road, Apt. 1305, Columbus, GA 31904 via first class mail by
   depositing the documents in a properly addressed envelope with adequate postage
   attached.

            This 17th day of November, 2020.
                                               /S/ Robert M. Matson
                                               ____________________________________
   Akin, Webster & Matson, P.C.                Robert M. Matson
   P.O. Box 1773                               Attorney for Movant
   Macon, GA 31202                             State Bar No. 477102
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